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U.S. Department of Justice

United States Attorney
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Southern Division
ROW
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December 21, 2023
Richard A. Finci, Esq. — Ones ENTERED
Houlon, Berman, Finci & Levenstein, LLC GED____ RECEIVED
7850 Walker Drive, Suite 160 JAN 17 2024
Greenbelt, Maryland 20770
AT GREENBELT
. CLERK, U.S. DISTRICT
Re: United States v. Alakom-Zed Crayne Pobre, By DISTRICT OF MARYLAND
Criminal No. PX 19-348 DEPUTY

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Alakom-Zed Crayne Pobre (hereinafter
“Defendant”), by the United States Attorney’s Office for the District of Maryland (“this Office”).
If the Defendant accepts this offer, please have the Defendant execute it in the spaces provided
below. This plea agreement is entered into and will be submitted to the Court pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(C). If this offer has not been accepted by
December 30, 2023, it will be deemed withdrawn. The terms of the Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment, which
charges the Defendant with Possession of Child Pornography, in violation of 18 U.S.C.
§ 2252A(a)(5)(B) and (b)(2). The Defendant admits that the Defendant is, in fact, guilty of the

offense and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Indictment, in the District of Maryland, the Defendant: (1) the Defendant knowingly
possessed a visual depiction; (2) that visual depiction was transported in or affecting interstate or
foreign commerce or was produced using materials that had been transported in or affecting
interstate or foreign commerce by any means, including by computer; (3) the visual depiction was
child pornography, as defined in 18 U.S.C. § 2256(8); (4) the Defendant knew of the sexually
explicit nature of the material and the visual depiction was of an actual minor engaged in sexually

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explicit conduct; and (5) the image involved a prepubescent minor or a minor who had not attained
12 years of age.

Penalties

Bi The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:

Counts Statute Minimum Maximum Supervised Maximum Special
Prison Prison Release Fine Assessment
1LUS.C At least five $100
1 § 2252A( \(5) N/A 10 years years, up to | $250,000 and/or
° life $5,000
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

é Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 2259, 3663, 3663A, and 3664.

d. Special Assessments: The Court must order the Defendant to pay a special
assessment pursuant to 18 U.S.C. § 3013 and may order additional special assessments for certain
convictions pursuant to 18 U.S.C. § 3014 and 2259A.

e. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

f. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

g. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to

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collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. The Defendant has the right to have his case presented to a Grand Jury,
which would decide whether there is probable cause to return an Indictment against him. By
agreeing to proceed by way of Information, he is giving up that right, and understands that the
charge will be filed by the United States Attorney without the Grand Jury.

b. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

C. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

d. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. Ifthe Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

é. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

f. If the Defendant were found guilty after a trial, the Defendant would have

the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the

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charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

g. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

h. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

i. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range’’) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable advisory guidelines are as follows:

a. The base offense level is 18, pursuant to United States Sentencing
Guidelines (“U.S.S.G.”) § 2G2.2(a)(1).

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b. A 2-level increase applies, pursuant to U.S.S.G. § 2G2.2(b)(4), because the
material involved a prepubescent minor or a minor who had not attained the age of 12 years.

C. A 4-level increase applies, pursuant to U.S.S.G. § 2G2.2(b)(4)(B), because
he possessed material involving the sexual abuse of a toddler.

d. A 2-level increase applies, pursuant to U.S.S.G. § 2G2.2(b)(6), because the
offense involved the use of a computer.

é. A 5-level increase applies, pursuant to U.S.S.G. § 2G2.2(b)(7)(B), because
the offense involved more than 600 visual depictions of children and minors being exploited.

f. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (1) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (vii1) violates this Agreement in any way.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c) (1) (C) Plea

9, The parties stipulate and agree, pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C), that a term imprisonment of not less than 1 day and not more than 48 months’
imprisonment in the custody of the Bureau of Prisons is the appropriate disposition of this case
taking into consideration the nature and circumstances of the offense, the Defendant’s criminal
history, and all of the other factors set forth in 18 U.S.C. § 3553(a).

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10. This Agreement does not affect the Court’s discretion to impose any lawful term of
supervised release or fine or to set any lawful conditions of probation or supervised release. In the
event that the Court rejects this Agreement, except under the circumstances noted below, either
party may elect to declare the Agreement null and void. Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his
plea.

Obligations of the Parties

11. At the time of sentencing, this Office and the Defendant agree under Fed. R. Crim.
P. 11(c)(1)(C) to recommend a term of imprisonment of not less than 1 day and not more than
48 months in the custody of the Bureau of Prisons. The parties reserve the right to advocate for a
reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to bring to the Court’s
attention all information with respect to the Defendant’s background, character, and conduct that
this Office or the Defendant deem relevant to sentencing, including the conduct that is the subject
of any counts of the Indictment. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant.

Sex Offender Registration

12. | The Defendant understands and agrees that, as a consequence of the Defendant’s
conviction for the crimes to which the Defendant is pleading guilty, the Defendant will be required
to register as a sex offender in the place where the Defendant resides, is an employee, and is a
student, pursuant to the Sex Offender Registration and Notification Act (SORNA), and the laws
of the state of the Defendant’s residence. Failure to do so may subject the Defendant to new
charges pursuant to 18 U.S.C. § 2250.

Waiver of Appeal

13. _In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. If the Court imposes a term of imprisonment within the agreed-upon range
of 1 day to 48 months, the Defendant and this Office knowingly and expressly waive all rights

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conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

€. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

14. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offenses.

15. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities:

a. Zigmatech desktop computer bearing bar code number
X11SA012050170056; and

b. Sans Digital RAID bearing SN: M88X+B140530109997 containing 8 hard
drives.

16. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

17. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

18. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,

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statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Abandonment

19. The Defendant knowingly and voluntarily waives any right, title, and interest in the

following property:

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Seagate Barracuda HD S/N: 3PMOEXGQ

Seagate Barracuda HD: S/N: 3NFO67XM

Seagate Barracuda HD: S/N 3NFO2A0W

Western Digital HD: S/N: WMATV 1224127
Hitachi HD: S/N: PAG9EPSS

Western Digital HD: S/N: WMATV0902536
Western Digital HD: S/N: WMATV0942752
Samsung HD: S/N: S13PJDWS121420

Seagate Barracuda HD: S/N: 3NFO3 VWB

Western Digital HD (1 TB): S/N: WMATV0963932
Hitachi HD (4 TB): S/N: PAG9PV2V

Hitachi HD (4 TB): S/N: PAG83PTS

Seagate HD (400 GB): S/N: 3NFO4VL1

Hitachi 4 TB HD: S/N: PAGQSHULS

Hitachi 4 TB HD: S/N: PAG8SPOS

Western Digital 1.5 TB HD: S/N: WCAVY0U54826
Western Digital 6.0TB HD: S/N: WX81065CA004
Seagate 400GB HD: $301H07H

Crucial SSD: S/N: 164514D40D26

Hitachi HD: S/N: SAAJ5A2B0041

Hitachi HD (60GB):

Maxtor External HD: S/N: Y83POGRE

Silver-and Black-Huawei-Cell Phone/AJ

ASUS Laptop (Make: Q534U) “7 hese Hous wil (
Samsung Galaxy Tablet heap
Black Sager Laptop: S/N: 8B08SC928363 fA he Sefurned by.

Cool Tech PC Tower: S/N: 501959 v -t to
Western Digital W03200: S/N: WMAMR 019905 Ublencie Sei

Star Tech.com HD . AA
San DIsk 8GB Flash Drive US\  verdtcation

San Disk 4GB Flash Drive Covrtenin ne lanades
PNY 256GB SD Card . co :
Sony 64 GB SD Card ee or child gong yt
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ASUS RT-AC68R Router
NetGear ProSafe 8 Switch: S/N: 2162343 YO3D5B

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(collectively, the “Abandoned Property’) and consents to its federal administrative disposition,
official use, and/or destruction.

20. The Defendant understands that he would have a right to file a claim to the
Abandoned Property and waives his right to claim the Abandoned Property. The Defendant agrees
not to contest the vesting of title of the Abandoned Property in the United States Government and
agrees to unconditionally release and hold harmless the United States Government, its officers,
employees, and agents, from any and all claims, demands, damages, causes of actions, suits, of
whatever kind and description, and wheresoever situated, that might now exist or hereafter exist
by reason of or growing out of or affecting, directly or indirectly, the seizure or waiver of
ownership interest in the Abandoned Property. The Defendant agrees to execute any documents
as necessary to the waiver of right, title and interest in the Abandoned Property, including any
forms necessary to effect the Defendant’s waiver of ownership interest.

Restitution in Cases Involving the Sexual Exploitation of Children

21. Pursuant to 18 U.S.C. § 3663(a)(3), 18 U.S.C. § 3663A(a) & (b), 18 U.S.C. § 3664,
and 18 U.S.C. § 2259, the defendant agrees to make full restitution to all minor victims of his
offenses as to all counts charged, whether or not the defendant enters a plea of guilty to such counts
and whether or not such counts are dismissed pursuant to this agreement. Further, the defendant
agrees to pay restitution to any of his minor victims, for the entire scope of his criminal conduct,
including but not limited to all matters included as relevant conduct. The defendant acknowledges
and agrees that this criminal conduct (or relevant conduct) includes any minor victim of any child
pornography offenses, charged or uncharged, under Chapter 110, United States Code, and any
minor victim of any violation of federal and/or state law committed by the defendant, including
any contact sexual offense. Further, pursuant to 18 U.S.C. § 3664(d)(5), the defendant agrees not
to oppose bifurcation of the sentencing hearing if the victims’ losses are not ascertainable prior to
sentencing. If the Defendant does not fulfill this provision, it will be considered a material breach
of this Agreement, and this Office may seek to be relieved of its obligations under this Agreement.

Additional Special Assessments in Sex Crimes Cases

2dn Pursuant to 18 U.S.C. § 3014 (the Justice for Victims of Trafficking Act “JVTA’”),
because the offense of conviction is under 110 (relating to sexual exploitation and other abuse of
children), the Defendant must also pay an additional special assessment of $5,000, unless the
Defendant is indigent.

23. Pursuant to 18 U.S.C. § 2259A (the Amy, Vicky, and Andy Child Pornography
Victim Assistance Act “AVAA”), in addition to any other criminal penalty, restitution, or special
assessment authorized by law, the court shall assess-(1) not more than $17,000 on any person
convicted of an offense under section 2252(a)(4) or 2252A(a)(5); (2) not more than $35,000 on
any person convicted of any other offense for trafficking in child pornography; and (3) not more
than $50,000 on any person convicted of a child pornography production offense.

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Defendant’s Conduct Prior to Sentencing and Breach

24. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

25. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (111) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Entire Agreement

26. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Erek L. Barron
United States Attorn

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am K. Ake
Assistant United States Attorney

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I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

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Date Makorh-Zed Pobre
Defendant

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter

into this Agreement is an informed and voluntary ope.
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Richard Finci, Esq.
Counsel for the Defendant

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